Case 4:22-cr-00035-Y Document 92_ Filed 10/11/22 rage lofi PagelD 208 = M01G7)
UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF TEXAS
Fort Worth DIVISION

 

 

 

 

 

 

 

 

 

 

 

 

HONORABLE Terry R. Means PRESIDING COURT REPORTER/TAPE: Debbie Saenz
DEPUTY CLERK Michelle Moon USPO Angela French
LAW CLERK INTERPRETER
CR. No. 4:22-CR-035-Y DEFT. No. (2)
UNITED STATES OF AMERICA § Shawn Smith, AUSA
§
¥, §
§
WILLEAM MCGLOTHLIN g Cody L. Cofer, (A)
Defendant's Name Counsel for Deft. Appt-(A), Retd-(R), FPD-(F}
SENTENCING

Date Held: 10-11-22

Hearing Type: {_] Sentencing Hearing - Contested [X] Sentencing Hearing - Non-Evidentiary

Time in Court: 22 mins.

Trial Status: L_iCompleted by Jury Verdict [_] Continued from Previous Month L] Directed Verdict [_] Evidence Entered
[Hung Jury [1] Jury Selection Only, continued [_] Jury Selection or Verdict Only (No Trial Before this Judge)
[_|Mistrial [X]Settled/Guilty Plea _] None

Days in Trial:

Hearing Concluded: |] Yes Lj No

Sentencing held. LJ Objections to PSI heard. Plea agreement accepted. [_] Plea agreement NOT accepted.
L Sentencing Guidelines L} Departs Upward [_] Departs Downward

 

 

 

SENTENCING TEXT:
L] .. Deft. placed on: Probation for ‘
.. Deft, committed to custody of the AG/BOP to be imprisoned fora TOTAL term of 120 months*
Pp neem a

.. Deft. placed on: Supervised Released for _> Years .

L].. — Restitution ordered in the amount of $ and/or Fine imposed in the amount of $ —

C] +  Count(s} dismissed on government's motion.

L].. Order dismissing original indictment/information to be entered upon government's written motion.

.. $100.00 _ special assessment on Count(s}

of J" Complaint [x] Indictment [ wns mation Superseding Indictment C] Superseding Information.
LJ... Deft ordered to surrender to the designated institution on .
CI... Deft failed to appear, bench warrant to issue. F i L E D
LJ... Bond [_] continued [] revoked October 11, 2022
Deft Advised of his righ
beeen ght to appeal.
O KAREN MITCHELL
Le nnees Deft requests Clerk to enter notice of Appeal. CLERK U.S. DISTRICT
Gow, Deft Custody/Detention continued, a
COURT

ve neeae Deft REMANDED to custody. Court recommends incarceration at

 

OTHER PROCEEDINGS/INFORMATION: “to run consecutively to any future sentence that may be imposed in case nos.

 

1701467 and 1701469 in Tarrant County Criminal District Court No. 3 and in the pending state parole revocation hearing in case
nos. F-1833850, F-1833851, and F-1833852 in Dallas County Criminal District Court No.5, Dallas County, Texas.

 

 

 
